                      Case 1:21-mj-00430-GMH Document 1 Filed 05/17/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
             BRIAN GLENN BINGHAM
                                                                     )
                 DOB: XXXXXX                                         )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                   in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                      Offense Description
        18 U.S.C. § 111(a)(1) - Assaulting, Resisting, or Impeding certain Officers or Employee of the United States in the
        Performance of their Official Duties,
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder,
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful
        Authority,
        18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
        40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                 Complainant’s signature

                                                                                    Edward E. Moschella, Special Agent
                                                                                                 Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                                       Digitally signed
                                                                                                                    by G. Michael
Date:             05/17/2021
                                                                                                                    Harvey
                                                                                                    Judge’s signature

City and state:                         :DVKLQJWRQ'&                           G. Michael Harvey, U.S. Magistrate Judge
                                                                                                 Printed name and title
